Case 1:21-cr-00223-LY Document 3-1 Filed 11/02/21 Page 1 of 6

 

 

21CR 223 LY

 

 

 

 

 

 

 

 

 

Sealed xX
Unsealed Personal Data Sheet USAO#  2016R18556
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
RELATED CASE YES _xX NO
CASE NO._ N/A
County: TRAVIS AUSTIN Division Judge:
Date: GIN2AT Mag CtL# SSN: FBI#:
Case No.: Trial Attorneys: Rebecca Schuman & Michael
Lang
Defendant: Matthew Nelson Tunstall Date of Birth: REDACTED
Address:
Citizenship: United States Mexican Other
Interpreter Needed: Yes ee No _ Language
Defense Attorney: Employed
Address of Attorney: Appointed:
Defendant is: In Jail ee Where:
On Bond Amt. of Bond Where:

Date of Arrest:

 

Bench Warrant Needed

 

Prosecution By:

Offense (Code & Description):

Offense Is:

Information Indictment X

 

Count | — Conspiracy, 18 U.S.C. § 371

Count 2 - Wire Fraud, 18 U.S.C. § 1343

Count 3 ~ Wire Fraud, 18 U.S.C. § 1343

Count 4 — Wire Fraud, 18 U.S.C. § 1343

Count $§ — Money Laundering, £8 U.S.C, § 1956(a)(1)(B)(i)
Count 6 — Money Laundering, 18 U.S.C, § 1956(a)(1)(B)(@)
Count 7 — Money Laundering, 18 U.S.C, § 19357

Count 8 — Money Laundering, 18 U.S.C, § 1937

 

Felony x Misdemeanor

 
Case 1:21-cr-00223-LY Document 3-1 Filed 11/02/21 Page 2 of 6

Maximum Count | - Maximum 5 years’ imprisonment; Fine net to exceed $250,000 or twice the

Sentence:

gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment

Count 2 - Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the

gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 3 — Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the

gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 4 — Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the

gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 5 — Maximum 26 years’ imprisonment; Fine not to exceed $500,000 or twice the

value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 6 — Maximum 20 years’ imprisonment; Fine not to exceed $500,000 or twice the

value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 7 — Maximum 10 years’ imprisonment; Fine not to exceed $250,004} or twice the

value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 8 — Maximum 10 years’ imprisonment; Fine not to exceed $250,000 or twice the

value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $106 special assessment.

 

Penalty is Mandatory:

Remarks:

Yes X As to special assessment No

 

 

 

 
Case 1:21-cr-00223-LY Document 3-1 Filed 11/02/21 Page 3 of 6

 

 

 

 

 

 

 

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Unsealed Personal Data Sheet USAO#  2016R18556
~—s UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
RELATED CASE YES _X NO
CASE NO. N/A
County: TRAVIS AUSTIN Division Judge:
Date: GJ Mag Ct.# SSN: FBI#:
11/2/21
Case No.: Trial Attorneys: Rebecea Schuman & Michael
Lang
Defendant: Robert Reyes, Jr. Date of Birth: REDACTED
Address:
Citizenship: United States Mexican Other
Interpreter Needed: Yes No Language
Defense Attorney: Employed
Address of Attorney: Appointed:
Defendant is: In Jail _ Where:
On Bond Amt. of Bond Where:

Date of Arrest:

 

 

 

 

Bench Warrant Needed

 

Prosecution By:

Offense (Code & Description):

Offense Is:

Information Indictment X

 

 

Count | — Conspiracy, [8 U.S.C. § 371

Count 2 — Wire Fraud, 18 U.S.C. § 1343

Count 3 — Wire Fraud, 18 U.S.C. § 1343

Count 4 — Wire Fraud, 18 U.S.C. § 1343

Count 5 — Money Laundering, 18 U.S.C. § 1956(a)(1)(B)(@)
Count 6 — Money Laundering, 18 U.S.C. § 1956(a)(1)(B)()
Count 7 - Money Laundering, 18 U.S.C. § 1957

Count 8 ~ Money Laundering, 18 U.S.C. § 1957

 

Felony X Misdemeanor

 
Case 1:21-cr-00223-LY Document 3-1 Filed 11/02/21 Page 4 of 6

Maximum Count 1 — Maximum 4 years’ imprisonment; Fine not to exceed $250,000 or twice the
Sentence: gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment

Count 2 — Maximum 20 years’ imprisonment; Fine not te exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 3 — Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 4—- Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

Count 5 — Maximum 20 years’ imprisonment; Fine not to exceed $500,006 or twice the
value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 6 — Maximum 26 years’ imprisonment; Fine not to exceed $500,000 or twice the
value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 7 - Maximum 10 years’ imprisonment; Fine not to exceed $250,000 or twice the
value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

Count 8 — Maximum 10 years’ imprisonment; Fine not to exceed $230,000 or twice the

value of the property involved (whichever is greater); Maximum 3 years of
supervised release; $100 special assessment.

 

 

Penalty is Mandatory: Yes X As to special assessment No

 

Remarks:

 

 
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Unsealed Personal Data Sheet USAO# 2016R18556

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

   

RELATED CASE ___ YES x NO
CASE NO. N/A

 

 

 

 

 

 

 

 

 

 

County: TRAVIS AUSTIN Division Judge:
Date: GJ Mag Ct.# SSN: FBUH:
11/2/21
Case No.: Trial Attorneys: Rebecca Schuman & Michael
Lang
Defendant: Kyle George Davies Date of Birth: REDACTED
Address:
Citizenship: United States Mexican Other
Interpreter Needed: Yes No Language
Defense Attorney: Employed
Address of Attorney: Appointed
Defendant is: In Jail Where:
On Bond _ Amt. of Bond Where:
Date of Arrest: Bench Warrant Needed
Prosecution By: Information Indictment X
Offense (Code & Description): Count 1 - Conspiracy, 18 U.S.C, § 371

Count 2 ~ Wire Fraud, 18 U.S.C, § 1343
Count 3 ~ Wire Fraud, £8 U.S.C. § 1343
Count 4 — Wire Fraud, 18 U.S.C, § 1343

 

Offense Is: Felony x Misdemeanor

Maximum

Sentence: Count 1 - Maximum 5 years’ imprisonment; Fine not to exceed $250,000 or twice the

gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment

Count 2 — Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

 

 
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Count 3 — Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; 3100 special assessment.

Count 4 - Maximum 20 years’ imprisonment; Fine not to exceed $250,000 or twice the
gross gain or loss from the offense (whichever is greater); Maximum 3 years
of supervised release; $100 special assessment.

 

Penalty is Mandatory: Yes X As to special assessment No

 

Remarks:

 
